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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                    Defendants.


           This matter is before the Court on two related motions filed by Defendant Christopher

   Cantwell, proceeding pro se. He titled these motions: (1) “Motion in Limine for a Determination

   that Bias Against Those Who Identify as ‘Jews’ Is Not a Form of ‘Class Based Invidiously

   Discriminatory Animus’ Prohibited by 42 U.S.C. § 1985(3),” Dkt. 1085; and (2) “Motion in

   Limine to Exclude All Evidence of Defendants’ Perceived Biases Against Those Who Identify as

   ‘Jews’ Pursuant to Fed. R. Evid. 401, 402, and 403,” Dkt. 1088.

           Both of these motions are predicated upon an argument Mr. Cantwell advances that “bias

   against those who identify as Jews or practice Judaism is not a form of ‘class based invidiously

   discriminatory animus’ prohibited by 42 U.S.C. § 1985(3),” the principal statute under which

   Plaintiffs bring their claim. Dkt. 1085 at 2; id. at 5 (¶ 7); see also Dkt. 1088 at 1 (¶ 1) (citing and

   relying upon arguments in Dkt. 1085), id. at 4 (¶ 9). However, as this Court stated on the record

   at the Court’s status conference of October 20, 2021, this Court is governed by Fourth Circuit

   law on the issue. And published Fourth Circuit precedent holds that “religious discrimination,

   being akin to invidious racial bias, falls within the ambit of § 1985[3].” Ward v. Connor, 657




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   F.2d 45, 48 (4th Cir. 1981). 1 Mr. Cantwell largely relies instead on a Fourth Circuit case in

   which the Supreme Court reversed the judgment of the Fourth Circuit, and in which the Supreme

   Court held that “Jews and Arabs were among the peoples then considered to be … within the

   protection of” another federal civil rights statute, 42 U.S.C. § 1982. Shaare Tefila Congregation

   v. Cobb, 481 U.S. 615, 617–18 (1987) (emphasis added). Nor has Mr. Cantwell cited Supreme

   Court or Fourth Circuit published precedent contrary to Ward v. Connor. And because such

   precedent supports the relevancy of discrimination against both Black and Jewish people to meet

   the elements of a § 1985(3) conspiracy claim, specifically the element of discriminatory animus,

   the Court will DENY Cantwell’s motions. Dkts. 1085, 1088.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to the parties.

                       22nd day of October, 2021.
          Entered this ______




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            See also, e.g., Trerice v. Summons, 775 F.2d 1081, 1085 (4th Cir. 1985) (holding that
   the plaintiff’s “cause of action based on § 1985(3) must fail,” because “Plaintiff did not allege
   that Trerice was in a racial or religious classification”); Holman v. Wooten, No. 4:09-cv-1634,
   2010 WL 3895684, at *2 (D.S.C. Sept. 30, 2010) (“[I]n the Fourth Circuit, Section 1985(3)
   claims are limited to claims of racial and/or religious discrimination.”) (citation omitted); Words
   of Faith Fellowship, Inc. v. Rutherford Cty Dep’t of Soc. Servs., 329 F. Supp. 2d 675, 689
   (W.D.N.C. 2004) (“[T]he Fourth Circuit has stated that ‘religious discrimination … falls within
   the ambit’ of the statute,” 1985(3)).
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